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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,             No.   2:17-cr-00053-JAM
12                 Plaintiff,
13        v.                               ORDER FOR VOLUNTARY SURRENDER
14   JEFFREY REILLEY,
15                 Defendant.
16

17        Jeffrey Reilley, having been sentenced to the custody of the

18   Bureau of Prisons, shall surrender to the institution designated

19   by the Bureau of Prisons, or if no such institution has been

20   designated, to the United States Marshal in Sacramento,

21   California before 2:00 p.m. on October 17, 2019.         The defendant

22   is further advised it is a criminal offense punishable by a

23   consecutive term of imprisonment to fail to surrender for service

24   of sentence pursuant to the order of this Court.         All conditions

25   of pretrial release shall remain in effect until the defendant

26   surrenders in accordance with this order.

27        The Court reserves jurisdiction over this matter, and will

28   only change the date or time of voluntary surrender upon motion
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 1   of either the defendant or the government with good cause
 2   appearing.
 3        The Clerk is directed to serve the U.S. Marshals Service a
 4   copy of the order.
 5        IT IS SO ORDERED.
 6   Dated:   August 13, 2019
 7                                            /s/ John A. Mendez__________
 8                                            John A. Mendez,
                                              United States District Judge
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